Case 5:18-cr-00227-SLP Document 232-122 Filed 04/01/22 Page 1 of 12




                                                          Exhibit 122
Case 5:18-cr-00227-SLP Document 232-122 Filed 04/01/22 Page 2 of 12




                                                          Exhibit 122
Case 5:18-cr-00227-SLP Document 232-122 Filed 04/01/22 Page 3 of 12




                                                          Exhibit 122
Case 5:18-cr-00227-SLP Document 232-122 Filed 04/01/22 Page 4 of 12




                                                          Exhibit 122
Case 5:18-cr-00227-SLP Document 232-122 Filed 04/01/22 Page 5 of 12




                                                          Exhibit 122
Case 5:18-cr-00227-SLP Document 232-122 Filed 04/01/22 Page 6 of 12




                                                          Exhibit 122
Case 5:18-cr-00227-SLP Document 232-122 Filed 04/01/22 Page 7 of 12




                                                          Exhibit 122
Case 5:18-cr-00227-SLP Document 232-122 Filed 04/01/22 Page 8 of 12




                                                          Exhibit 122
Case 5:18-cr-00227-SLP Document 232-122 Filed 04/01/22 Page 9 of 12




                                                          Exhibit 122
Case 5:18-cr-00227-SLP Document 232-122 Filed 04/01/22 Page 10 of 12




                                                           Exhibit 122
Case 5:18-cr-00227-SLP Document 232-122 Filed 04/01/22 Page 11 of 12




                                                           Exhibit 122
Case 5:18-cr-00227-SLP Document 232-122 Filed 04/01/22 Page 12 of 12




                                                           Exhibit 122
